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                        IN THE UNITED STATES DISTRICT COURT FOR
                             SOUTHERN DISTRICT OF FLORIDA


                                                      Case No.: ______________
    MICHAEL ANTHONY, individually, and on
    behalf of all others similarly situated,          DECLARATION OF MARK L.
                   Movant,                            JAVITCH IN SUPPORT OF MOTION
                                                      TO COMPEL COMPLIANCE WITH
                                                      RULE 45 SUBPOENA
                   v.

    FDE MARKETING GROUP, LLC, a Florida               Related to Action Pending in the U.S.
    limited liability company,                        District Court of the Northern District of
                                                      Illinois, Anthony v. The Federal Savings
                   Respondent.                        Bank, et ano., 1:21-cv-02509-EEC




             1.   I am an attorney duly licensed to practice in the State of California. This

   declaration is based on personal knowledge of the matters set forth herein.

             2.   I am an attorney of record for Plaintiff MICHAEL ANTHONY in the instant

   matter, and in the underlying matter to which this matter relates, Anthony v. Federal Savings

   Bank, et ano., Case No. 1:21-cv-02509-EEC (N.D. Ill.). I am admitted on a pro hac vice basis

   before the United States District Court for the Northern District of Illinois in the underlying

   matter.
             3.   I searched the Florida Secretary of State website and found that the name and

   address of the registered agent for FDE MARKETING GROUP LLC (“FDE”) is Frank Bisesi,

   1314 E. Las Olas Blvd., Fort Lauderdale, FL 33301.

             4.   Attached as Exhibit “A” is a true and correct copy of the document I downloaded

   from the Florida Secretary of State’s website for FDE.

             5.   On August 2, 2021, I caused a Subpoena to be served on FDE via its registered

   agent, Mr. Bisesi.
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           6.     Attached as Exhibit “B” is a copy of the Subpoena that was served on FDE, and

   the completed proof of service showing it was duly served by a process server on August 2,

   2021.

           7.     As of the date of this filing, I have not received any response to the Subpoena.

           8.     On August 22, 2021, Bisesi contacted me via email and purported to reassure me

   that he would prioritize responding to the subpoena. However, despite repeated false assurances

   from Bisesi, FDE has not responded to the subpoena and has ceased communications with me.

           9.     Attached as Exhibit “C” is a true and correct copy of emails from Frank Bisesi

   on August 22, 2021.



           I declare under penalty of perjury under the laws of the State of California and the

    United States of America that the foregoing is true and correct. This declaration is

    executed on this 16th day of September, 2021, in San Mateo, California.



                                         By: /s/ Mark L. Javitch
                                                Mark L. Javitch (SBN 323729)
                                                480 S. Ellsworth Ave.
                                                San Mateo CA 94401
                                                Tel: (650) 781-8000
                                                Fax: (650) 648-0705
                                                Attorney for Plaintiff
                                                and those similarly situated




                                                   2
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   Case 1:21-mc-23345-FAM Document 1-1 Entered on FLSD Docket 09/16/2021 Page 4 of 21
2021 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT                 FILED
DOCUMENT# L16000124127                                           Jan 12, 2021
Entity Name: FDE MARKETING GROUP LLC                           Secretary of State
                                                                5689477765CC
Current Principal Place of Business:
1314 E. LAS OLAS BLVD.
FORT LAUDERDALE, FL 33301


Current Mailing Address:
1314 E. LAS OLAS BLVD.
FORT LAUDERDALE, FL 33301 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
BISESI, FRANK
1314 E. LAS OLAS BLVD.
FORT LAUDERDALE, FL 33301 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGR
Name                   BISESI, FRANK
Address                1314 E. LAS OLAS BLVD.
City-State-Zip:        FORT LAUDERDALE FL 33301




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: FRANK BISESI                                                                                                CEO                                                01/12/2021
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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   Case 1:21-mc-23345-FAM Document 1-1 Entered on FLSD Docket 09/16/2021 Page 6 of 21
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Illinois
                                                                              __________
                     MICHAEL ANTHONY
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 21-cv-02509-EEC
         THE FEDERAL SAVINGS BANK, et. al.                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                       FDE Marketing Group LLC c/o Frank Bisesi, Registered Agent
                                               1314 E. Las Olas Blvd., Fort Lauderdale, FL 33301
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Schedule A, attached



  Place: Brickell Key Court Reporting, 515 East Las Olas                                Date and Time:
           Boulevard, Suite 120, Ft. Lauderdale, FL 33301                                                    08/27/2021 9:00 am

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/29/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Mark L. Javitch
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff,
Javitch Law Office                                                       , who issues or requests this subpoena, are:
Mark L. Javitch, 480 S. Ellsworth Ave, San Mateo, CA 94401, (650) 781-8000

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 21-cv-02509-EEC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF ILLINOIS

    MICHAEL ANTHONY, individually, and on                Case No.: 21-cv-02509-EEC
    behalf of all others similarly situated,
                                                         SCHEDULE A TO SUBPOENA TO
                   Plaintiff,
                                                         PRODUCE DOCUMENTS,
                   v.                                    INFORMATION, OR OBJECTS OR TO
                                                         PERMIT INSPECTION
    THE FEDERAL SAVINGS BANK, an
    Illinois Federal Savings Association, and
    NATIONAL BANCORP HOLDINGS, INC.,
    a Delaware corporation,
                   Defendants.



                                            DEFINITIONS
          Any references to “The Federal Savings Bank”, “National Bancorp Holdings, Inc.”,

   “Defendant”, “Defendants”, “Defendant’s” or “Defendant(s)” shall be treated as referring to each

   and every Defendant named within this lawsuit, individually and collectively, as may be

   appropriate. Any references to “Plaintiff”, “Plaintiff’s”, or “Plaintiffs” shall be treated as referring

   to each and every Plaintiff named within this lawsuit, individually and collectively, as may be

   appropriate. Any references to “Respondent”, “YOU” or “YOUR” as used in these Document

   Requests, any references indicating the use of masculine or feminine, and any references indicating

   the use of singular or plural, shall be used interchangeably.

          If any objection is made to any of the following Document Requests, Respondent shall

   make any such objection and state the relevant legal basis for such objection. If any objection is

   made based upon a claim of privilege as to any response, Respondent shall state the legal basis for

   the privilege Respondent is invoking and provide a detailed log to support the invocation of such

   privilege.

          Each and every Document Request herein is deemed continuing in nature pursuant to the

   Federal Rules of Civil Procedure, and Respondent is obligated to seasonably amend and provide

   any updated information that renders the responses to one or more of these Document Requests
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   incomplete or inaccurate, and serve those amended responses upon the undersigned Plaintiff’s

   counsel.

          As used in these Document Requests, the term “DOCUMENT” or “DOCUMENTS ”

   means every writing or recorded material of every type and description, of any kind, that is in the

   possession, control or custody of Respondent, which Respondent has knowledge, whether

   originals, copies or facsimiles. Such writings or recordings include, but are not limited to,

   collection notes, electronic computer collection records, printouts of collection records, sample

   collection letters, Metro-data tapes, diskettes, computer hard drives, tape backups, Zip-type disks,

   magnetic media of any kind, CD-ROM, DVD, correspondence, memoranda, stenographic notes,

   handwritten notes, contracts, documents, rough-drafts, inter-office memoranda, memoranda for

   the files, letters, research materials, logs, diaries, forms, bank statements, tax returns, card files,

   books of account, journals, ledgers, invoices, diagrams, minutes, manuals, studies, publications,

   pamphlets, pictures, films, voice recordings, reports, surveys, minutes, statistical compilations,

   data processing cards, computer records, tapes, print-outs, agreements, communications, state and

   federal governmental hearings, reports, correspondence, telegrams, memoranda, summaries or

   records of telephone conversations, summaries or records of personal conversations or interviews,

   diaries, graphs, notebooks, note charts, charts, plans, drawings, sketches, maps, summaries or

   records of meetings or conferences, summaries or reports of investigations or negotiations,

   opinions or reports of consultants, photographs, video tape, motion picture film, digital

   photographs, brochures, advertisements, circular, press releases, drafts, any marginal comments

   appearing on any document, all other writings, books of all nature and kind whether handwritten,

   typed, printed, mimeographed, photocopied or otherwise reproduced, all tape recordings (whether

   for computer, audio, or visual replay) and all other written, printed, and recorded matter or tangible

   things upon which words, phrases, symbols or information of any kind are recorded, encrypted or

   otherwise stored.




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                                              INSTRUCTIONS
           1.      Each Document Request shall be answered fully and in writing, and where

   requested, by the applicable rules, under oath.

           2.      The terms “and” or “or shall mean and include both the conjunctive and the

   disjunctive.

           3.      If you claim a privilege as to any of the information requested to be identified and/or

   produced in the Document Requests, specify the privilege claimed, the communication or other

   matter as to which such claim is made, the subject of the communication or other matter and the

   basis upon which you assert the claim of privilege.

           4.      If, in answering these Document Requests, you encounter any ambiguity in

   construing a Document Request, or a definition or instruction relevant to the inquiry contained

   therein, set forth the matter deemed ambiguous and set forth the construction chosen or used in

   answering the Document Request.

           5.      In answering these Document Requests, furnish such information as is available to

   you, not merely such information as is within your knowledge. This means that you are to furnish

   information that is known by, available to, or in the possession of your affiliates, employees,

   servants, or agents, including your attorney or any agent for you or your attorney (unless

   privileged).

           6.      If you object to any Definition or Instruction or to any of the specific Document

   Requests set forth below, the precise grounds of your objection(s) shall be stated, with

   particularity. If any objection rests in whole or in part of a claim of privilege, the privilege claims

   should be stated, and all facts and all documents relied upon in support of such claim shall be

   stated or identified with particularity.

           7.      If you object to or claim a privilege with respect to only a portion of a given

   Document Request, you are requested to answer that portion of the Document Request as to which

   you have no objection or claim of privilege.


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             8.        All Documents and electronic data shall be produced in a sortable, filterable,

   searchable format. Any .pdf documents shall be produced in OCR and searchable format.

                                         DOCUMENT REQUESTS
             Pursuant to Rule 45 and 34 of the Federal Rules of Civil Procedure, Plaintiff requests that

   Respondent produce within thirty (30) days, 1 the Documents requested herein:

             1.        Documents relating to Plaintiff, Plaintiff’s phone number (215) 500-5555,

       including but not limited to all records of telephone calls made or attempted to (215) 500-5555,

       all notes of conversations with Plaintiff, all recordings, notes, and notations regarding Plaintiff,

       including from any software, websites or customer relationship management or related databases

       that You use.

             2.        Documents You contend demonstrate consent to be called for Plaintiff or for

       Plaintiff’s phone number.

             3.        Documents demonstrating revocation of consent to be called by Plaintiff or for

       Plaintiff’s phone number.

             4.        Documents containing any reference to “Needle Dee.”

             5.        Documents containing any reference to Jornaya_ID 743C75DB-5BAC-A09E-

       46F5-46F5BF157847.

             6.        Documents containing any reference to the address 111 Main St., Lansdale, PA

       19446.

             7.        Documents containing any reference to the email address noe.com@gmail.com.

             8.        Documents containing any reference to the IP address 63.100.125.20.




   1
     See 2015 Committee Notes regarding Rule 34: Under Rule 34(b)(2)(B), the response to the request must state that
   copies will be produced. The production must be completed either by the time for inspection specified in the request
   or by another reasonable time specifically identified in the response. When it is necessary to make the production in
   stages the response should specify the beginning and end dates of the production.
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          9.      Documents relating to and/or regarding your policies and procedures related to

   compliance with telemarketing laws and regulations, and the TCPA Do-Not-Call Registry, since

   May 10, 2017, including Your Internal Do-Not-Call List.

          10.     Documents and communications exchanged between You and any persons

   transferring calls or leads to You, such as the vendor(s) who transferred Plaintiff to You and

   provided Plaintiff’s telephone number as a lead, including prior negotiations, promotional

   material, contracts, guidelines, invoices, receipts, sales reports, and correspondence between You

   and such other Persons.

          11.     Documents relating to communications regarding Lead Intelligence, Inc. d/b/a

   Jornaya, including internal communications, emails, slideshows, word processing documents, text

   messages, calendar entries, meeting notes, voicemails, video conference logs, and the like.

          12.     Documents, electronically stored information, or communications related to the

   sale, offer to sell, or marketing of goods, products, or services sold by You on Your own behalf or

   on the behalf of others.

          13.     Documents showing all leads generated and/or calls placed by You or on Your

   behalf (whether exclusively or not), whether or not such call was transferred to You, since May

   10, 2017.

          14.     Documents reflecting any call (including attempted call) or text message made by

   You or any call center or other vendor of Yours, or to generate leads (even if You were not the

   exclusive buyer or beneficiary of said leads), or that could have generated a lead for You, since

   May 10, 2017. Responsive Documents include Documents containing identifying information of

   the Persons You were trying to contact (e.g., name, business name, address, email, phone number);

   information for the calls themselves, including the phone number called, the date and time of the


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   call, and the notes regarding call (e.g., no answer, message left, spoke with contact, etc.); any

   documents showing the prior express consent of the called party to be called.

          15.     Documents that identify any recorded message (including but not limited to the

   audio files of any such messages), the dialing mode, or option the dialing system was in when it

   made each of the calls referenced in Document Request No. 14.

          16.     Documents showing informal complaints, demands, lawsuits, settlements,

   enforcement actions, and investigations related to telemarketing practices of You or Your business

   partners or clients, since May 10, 2017.

          17.     Documents describing Your policies and procedures for making the telephone calls,

   since May 10, 2017, where the Person called previously expressed that they did not wish to receive

   calls from You or on Your behalf.

          18.     Documents representing the database of consumers You store, whether or not based

   on information transferred to You by third parties in the same manner as the information relating

   to Plaintiff’s phone number was received, since May 10, 2017.

          19.     Documents relating to and describing the operation, installation, and/or

   specifications of any and all equipment and systems used to make telephone calls to consumers,

   such as the phone call(s) to Plaintiff, by You or any third party on Your behalf (whether exclusively

   or not), since May 10, 2017.

          20.     Call detail logs in their original electronic format for calls placed by You or on

   Your behalf (whether exclusively or not) to promote or sell goods or services of Defendants

   (whether or not exclusively), since May 10, 2017. Responsive Documents include all calls made

   by You or on Your behalf, the originating telephone number, the date, time, and duration of the

   call, the telephone to which each such call was made or attempted to be made, whether the


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   telephone number is a cellular telephone number, the script for such call, the name of the person

   called, whether the person called had previously asked not to be called, the name, and unique

   identifier number(s)/designation(s) associated with the intended recipient and the call.

          21.     To the extent You claim that You had consent or permission for placing the calls

   referenced in Document Request No. 14, produce all Documents that identify:

                  a.      Any writings evidencing that consent or permission;

                  b.      Documents that evidence a clear and conspicuous statement that informed

   consumer of their right to withdraw their consent to receive telemarketing calls and the procedures

   that they may use to update their contact information that was used as a basis for any alleged

   consent to make telemarketing calls to them.

          22.     For any and all websites that You claim constitute or provide consent or permission,

   produce:

                  a.      Documents that identify the websites and specific web pages on websites

   that You claim constitute or provide consent or permission;

                  b.      All access, server, and error logs, and security and fraud alerts during the

   period You claim visits to the website(s) occurred that constitute consent or permission;

                  c.      All architectural diagrams, wireframes, and application mockups;

                  d.      All Documents that identify the affiliates compensated directly or indirectly

   by You for each purportedly consenting consumer or record;

                  e.      All Documents that identify the referring URL from which each purportedly

   consenting consumer came to such website;




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                  f.        All Documents that identify any vendor or company used by such website

   or its owner or operator for visitor traffic reporting, including any search engine optimization or

   internet marketing consultants;

                  g.        All Documents that identify the bandwidth usage for any such website

   during the period You claim visits to or actions on that website constituted consent or permission

   to contact any person;

                  h.        All Documents that identify the website host(s) for any website responsive

   to any of the foregoing and the dates each host was active for each such website;

                  i.        All Documents purporting to record, reflect, or show all “lead events,”

   Compliance Reports, and Visual Playback, occurring on such website; and

                  j.        If You claim any documents requested are not in Your possession, custody,

   or control, produce all Documents that identify Persons who possess or control such Documents,

   specifying which category of Documents are in which Party’s possession, custody, or control.

          23.     Documents You provide to third parties who make calls on Your behalf (whether

   exclusively or not), since May 10, 2017.

          24.     Documents You provide to Persons on whose behalf calls are placed (whether

   exclusively or not), since May 10, 2017.

          25.     Documents relating to due diligence, audits, inspections, certifications of

   compliance, oversight, and monitoring of Your marketing and sales activities and those of persons

   placing calls on Your behalf (whether exclusively or not), since May 10, 2017.

          26.     All insurance policies that could possibly afford coverage with respect to the

   matters complained of in this case together with all correspondence accepting or declining

   coverage or reserving rights.


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      Dated: July 29, 2021            Respectfully submitted,



                                      By: /s/Thomas A. Zimmerman, Jr.
                                              Thomas A. Zimmerman, Jr.
                                              ZIMMERMAN LAW OFFICES, P.C.
                                              77 W. Washington Street, Suite 1220
                                              Chicago, Illinois 60602
                                              Tel: (312) 440-0020
                                              Fax: (312) 440-4180
                                              tom@attorneyzim.com


                                      By: _/s/ Mark L. Javitch__________
                                             Mark L. Javitch (CA SBN 323729)
                                             JAVITCH LAW OFFICE
                                             480 S. Ellsworth Ave.
                                             San Mateo, CA 94401
                                             Tel: (650) 781-8000
                                             Fax: (650) 648-0705
                                             mark@javitchlawoffice.com
                                             Admitted Pro Hac Vice




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                                                                                       Mark Javitch <javitchm@gmail.com>



Re: Just spoke to Frank
1 message

Frank Bisesi <sales@fdemarketinggroup.com>                                                       Sun, Aug 22, 2021 at 9:33 PM
To: Mark Javitch <mark@javitchlawoffice.com>
Cc: researchservices@mailfence.com

 Yes please

 Frank


         On Aug 22, 2021, at 9:54 PM, Mark Javitch <mark@javitchlawoffice.com> wrote:



         Hi Frank, thanks for the email. Do you need a copy of the questions?

         Best,
         Mark

         On Sun, Aug 22, 2021 at 6:49 PM Frank Bisesi <sales@fdemarketinggroup.com> wrote:
          Sorry for the delay I thought we had already provided this information and this issue was resolved ! I will
          forward this to our in-house Council and get on this first thing in the am.

            Frank


                    On Aug 22, 2021, at 9:17 PM, researchservices@mailfence.com wrote:


                    ﻿
                    Mark,

                    You asked me if I heard from Frank, which I did not. I just went through my call
                    records and found the number for him, so I called to verify it was his number and
                    he picked up. His number is 443-904-7277, and he is cc'd on this email. He stated
                    this is his direct email address: sales@fdemarketinggroup.com

                    He spoke to me and said that he did not receive a copy of any subpoena at the
                    Mailbag post office address. However, he said if you can email him a copy of the
                    request, and he can get you the information in the morning. He said he uses
                    several list companies.

                    Frank, please do send Mark the lead source and information of whom you
                    purchased the "Needle Dee" information from, along with whatever else is
                    needed. I'm not aware of any of these details or the request. I just wanted to verify
                    the number. Thank you.

                    - Michael
